Filed 03/26/14                                     Case 14-20371                                                    Doc 194



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            8    corporation sole

            9
                                            UNITED STATES BANKRUPTCY COURT
           10
                                             EASTERN DISTRICT OF CALIFORNIA
           11
                                                    SACRAMENTO DIVISION
           12
                 In re:                                            CASE NO. 14-20371-C-11
           13
                 THE ROMAN CATHOLIC                                DCN: FWP-10
           14    BISHOP OF STOCKTON, a
                 California corporation sole,                      Date:      April 30, 2014
           15                                                      Time:      10:00 a.m.
                                        Debtor-In-                 Courtroom: 35
           16                           Possession.                           501 I Street, 6th Floor
                                                                              Sacramento, CA
           17

           18                     MOTION FOR ORDER: (1) FIXING TIME FOR FILING
                                PROOFS OF CLAIM; (2) APPROVING CLAIM FORMS; AND
           19                      (3) APPROVING MANNER AND FORM OF NOTICE
           20             The Roman Catholic Bishop of Stockton, a California corporation sole (the “RCB” or the

           21    “Debtor”), debtor in possession, moves the Court for an order establishing various claims bar

           22    dates; approving the proposed proof of claim form for abuse and other claimants; approving

           23    confidentiality procedures for claims filed arising from sexual abuse; and approving the form

           24    and manner of the proposed notices of the claim bar dates (the “Motion”). In support of this

           25    Motion, the Debtor relies upon the Declaration of Douglas Adel Regarding Description of

           26    Debtor and Pre-Filing History filed on January 16, 2014, at Docket No. 10 (“Adel Background

           27    Decl.”), the Declaration of Sister Terry Davis (“Davis Decl.”) in support of the Motion filed

           28    herewith, all exhibits filed in support of the Motion, and the following points and authorities:
                                                                                        MOTION FOR ORDER: (1) FIXING BAR
                                                                                DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                                -1-             APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                      Case 14-20371                                                   Doc 194



            1                                             JURISDICTION

            2           This Court has jurisdiction over this case and this matter pursuant to 28 U.S.C. §§ 157

            3    and 1334. Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409. This matter is a

            4    core proceeding under 28 U.S.C. § 157(b). The statutory bases for the relief requested are

            5    §§ 502 and 503 of the Bankruptcy Code.1 The Motion is also based on Rules 2002, 3003 and

            6    9008 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) and Rule 3003-1 of

            7    the Local Rules of Practice for the United States Bankruptcy Court, Eastern District of

            8    California (“Local Rules”).

            9           The RCB does not, by filing its petition for relief and other documents in this bankruptcy

           10    case, waive any of its rights under any applicable law, including, without limitation, the Code of

           11    Canon law, the First Amendment of the United States Constitution, the Constitution for the State

           12    of California, California’s law on corporations sole (California Corporations Code §§ 10000-

           13    10015), the Religious Freedom Restoration Act, the church autonomy doctrine, charitable trust

           14    law, California trust law, and the rights to object to disclosure of information and to contend that

           15    certain assets are not property of the estate.

           16                           INTRODUCTION AND RELIEF REQUESTED

           17           In order for the Debtor to administer its estate fully, to solicit acceptances or rejections in

           18    connection with a chapter 11 plan, and to make distributions thereunder, the Debtor must obtain

           19    complete and accurate information regarding the nature, validity and amount of all claims that

           20    will be asserted in this bankruptcy case.2 Consequently, the Debtor respectfully requests that,

           21    pursuant to Bankruptcy Rule 3003(c) and Local Rule 3003-1, the Court: (i) establish the Bar

           22    Dates (defined below) and related claims procedures; (ii) approve the proposed Proof of Claim

           23    Forms (defined below); (iii) approve proposed procedures for maintaining the confidentiality of

           24    proofs of claim filed in connection with Abuse Claims; and (iv) approve the form and manner of

           25    the proposed notices of the Bar Dates.

           26    1
                    All section references hereafter are to Title 11 of the United States Code unless noted
           27    otherwise.
                 2
                    As used herein, the term “claim” has the meaning given to it in Bankruptcy Code section
           28    101(5).
                                                                                        MOTION FOR ORDER: (1) FIXING BAR
                                                                                DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                                  -2-           APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                  Doc 194



            1           The Debtor has consulted with counsel for the Official Committee of Unsecured

            2    Creditors (“Creditors’ Committee”) and the Office of the United States Trustee (“UST”) and

            3    incorporated comments received into this Motion.

            4                                 BACKGROUND OF THE DEBTOR

            5           On January 15, 2014, the RCB commenced its chapter 11 reorganization case. Pursuant

            6    to Bankruptcy Code sections 1107 and 1108, the Debtor continues to operate its business and

            7    manage its property as a debtor-in-possession. No trustee or examiner has been requested or

            8    appointed in this case.

            9           A.      The Diocese of Stockton

           10           The Diocese of Stockton (the “Diocese”)3 was established on February 21, 1962. The

           11    Diocese, comprising the six counties of San Joaquin, Stanislaus, Calaveras, Tuolumne, Alpine,

           12    and Mono, currently serves approximately 250,000 Catholics in 35 parishes (collectively, the

           13    “Parishes”). Adel Background Decl. ¶ 5.

           14           The RCB provides resources, spiritual leadership, direction, support, planning,

           15    programming, leadership development and other services to individuals of the Roman Catholic

           16    faith in addition to the Parishes (which collectively operate eighteen Catholic pre- and

           17    elementary (K-8) schools as well as thirteen missions), two Catholic high schools and various

           18    other separately incorporated Catholic-based entities which operate in the Diocese. The RCB

           19    has approximately thirty-seven salaried employees and seven hourly employees. In addition to

           20    the RCB’s employees, the RCB also has several sisters from various religious orders who

           21    provide services to the Diocese. Id. ¶ 6.

           22           As a religious organization, the RCB has no significant ongoing for-profit business

           23    activities or business income. Revenue for the RCB principally comes from the annual ministry

           24    appeal, fees for services provided to the Non-RCB Entities (defined below), donations, grants,

           25    and RCB ministry revenue. The RCB’s annual operating budget is approximately $5 million.

           26

           27    3
                   For the avoidance of doubt, the term “Diocese” is used herein exclusively to refer to the juridic
                 person of the Diocese under Canon Law, and the terms “RCB” or the “Debtor” are used herein
           28    exclusively to refer to the secular legal embodiment of the Diocese.
                                                                                      MOTION FOR ORDER: (1) FIXING BAR
                                                                              DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                               -3-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                   Doc 194



            1    The RCB operates on a fiscal year ending June 30. Id. ¶ 7.

            2           B.      Events Leading to the Commencement of the Chapter 11 Case

            3           Until recently, the RCB has maintained financial viability while funding compensation

            4    for Abuse victims and continued litigation regarding claims of sexual abuse. In the past 20

            5    years, the RCB has paid approximately $14 million in legal settlements and judgments in an

            6    effort to fulfill the RCB’s responsibility for abuse of minors by a diocesan priest. This amount

            7    does not include attorneys’ fees and other costs paid by the RCB or contributions from

            8    insurance. Id. ¶ 16.

            9           There are currently four Abuse lawsuits still pending against the RCB alleging liability

           10    for failure to supervise or prevent childhood sexual abuse. Of those four cases, three cases are in

           11    the discovery stage, and one case has not yet been served. No demands have been made in these

           12    four cases; however the RCB anticipates the initial demands to be between $2 and $6 million for

           13    each case. Id. ¶ 17.

           14           C.      The Reorganization Case

           15           The RCB intends to negotiate a pot plan of reorganization as early as possible which

           16    will: (a) allocate the RCB’s remaining assets fairly among the legitimate competing interests for

           17    such property; (b) provide a process to fully, fairly and expeditiously liquidate claims of Abuse

           18    victims; and (c) permit the RCB to carry on the RCB’s essential ministries and services so the

           19    RCB can continue to meet the needs of the Non-RCB Entities, parishioners, and others who rely

           20    on the RCB’s ministry, education, and charitable outreach. Id. ¶¶ 22 - 27. The Court has

           21    appointed a judicial mediator for this case (Docket No. 113), and the Honorable Judge Gregg W.

           22    Zive has scheduled an initial mediation session for April 28, 2014 (Docket No. 149).

           23           It is crucial for the plan process that the amount of claims be established as soon as

           24    possible. Thus, the Debtor files this Motion so the process for sending notices and filing claims

           25    can begin in earnest.

           26    ///

           27    ///

           28    ///
                                                                                       MOTION FOR ORDER: (1) FIXING BAR
                                                                               DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                                -4-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                    Case 14-20371                                                   Doc 194



            1                          PROPOSED BAR DATES AND PROCEDURES

            2           A.      Bar Dates for Filing Proofs of Claim

            3                   1.     The General Bar Date

            4           The Debtor requests that the Court confirm May 22, 2014 (“General Bar Date”) as the

            5    date by which all entities4 holding prepetition claims, including prepetition claims entitled to

            6    administrative expense status under section 503(b)(9) of the Bankruptcy Code, but excluding

            7    governmental units5 and Abuse Claims, must file proofs of claim. The Notice of Chapter 11

            8    Bankruptcy Case, Meeting of Creditors, & Deadlines filed at Docket No. 36 set May 22, 2014,

            9    as the General Bar Date. The Debtor believes the General Bar Date should remain May 22,

           10    2014, to avoid any confusion.

           11                   2.     The Abuse Claim Bar Date

           12           The Debtor requests that the Court fix August 15, 2014 (“Abuse Claim Bar Date”) as the

           13    date by which all persons (each an “Abuse Claimant” and collectively, the “Abuse Claimants”)

           14    asserting Abuse Claims must file proofs of claim. Any person who filed a lawsuit against the

           15    Debtor which was pending as of the Petition Date asserting an Abuse Claim must submit an

           16    Abuse Proof of Claim Form (defined below) prior to the Abuse Claim Bar Date. As mentioned

           17    above, the Notice of Chapter 11 Bankruptcy Case, Meeting of Creditors, & Deadlines filed at

           18    Docket No. 36 set May 22, 2014, as the General Bar Date. The Debtor’s proposed Abuse Claim

           19    Bar Date would give Abuse Claimants an additional 85 days to file claims.

           20                   3.     The Government Bar Date

           21           The Debtor requests that the Court confirm July 14, 2014 (“Government Bar Date” and,

           22    together with the General Bar Date and the Abuse Claim Bar Date, the “Bar Dates”) as the date

           23    by which all governmental units holding claims against the Debtor (whether secured, unsecured

           24    priority or unsecured nonpriority) that arose prior to or on the Petition Date must file proofs of

           25    claim. The Government Bar Date is at least 180 days after the Petition Date as required by

           26    4
                    As used herein, the term “claim” has the meaning given to it in Bankruptcy Code section
           27    101(15).
                 5
                   As used herein, the term “governmental unit” has the meaning given to it in Bankruptcy Code
           28    section 101(27).
                                                                                      MOTION FOR ORDER: (1) FIXING BAR
                                                                              DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                               -5-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                   Doc 194



            1    Bankruptcy Code section 502(d). The Notice of Chapter 11 Bankruptcy Case, Meeting of

            2    Creditors, & Deadlines filed at Docket No. 36 set July 14, 2014, as the Government Bar Date.

            3    The Debtor believes the Government Bar Date should remain July 14, 2014, to avoid any

            4    confusion.

            5           B.      Proposed General Proof of Claim Forms and Claim Procedures

            6           Because the Debtor is requesting the Court to approve a modified proof of claim form

            7    similar to those utilized by other diocesan debtors for Abuse Claims, the Debtor has prepared a

            8    proof of claim form (“General Proof of Claim Form”) which is modified to advise claimants

            9    clearly that the General Proof of Claim Form should be used by claimants asserting claims

           10    other than Abuse Claims. A copy of the General Proof of Claim Form is attached as Exhibit

           11    A to the Exhibit Document filed herewith.

           12           The Debtor proposes to have all General Proofs of Claim which have not already been

           13    filed with the Court to be originally executed and actually received on or before the applicable

           14    Bar Date by KCC (the “Claims Agent”), the claims agent the Debtor expects will be approved

           15    by the Court in this chapter 11 case,6 at the following address: Roman Catholic Bishop of

           16    Stockton Claims Processing KCC, 2335 Alaska Avenue, El Segundo, CA 90245. The proposed

           17    Bar Date Order provides that proofs of claim must be mailed or delivered by messenger or

           18    overnight courier; proofs of claim sent by facsimile, telecopy, or e-mail will not be accepted.

           19           C.      Proposed Abuse Proof of Claim Forms and Confidentiality Protocol

           20           The Debtor submits that under the circumstances of this case, and especially those

           21    relating to the Abuse Claims, a modified proof of claim form similar to those utilized by other

           22    diocesan debtors is appropriate in this case. Accordingly, the Debtor has prepared a confidential

           23    proof of claim form to be submitted by Abuse Claimants in connection with their Abuse Claims

           24    (the “Abuse Proof of Claim Form” and, together with the General Proof of Claim Form, the

           25    “Proof of Claim Forms”). A copy of the proposed Abuse Proof of Claim Form is attached as

           26    Exhibit B to the Exhibit Document herewith. The information requested in the Abuse Proof of

           27
                 6
                   The Debtor has filed a motion to approve KCC as its claims agent at Docket No. 155. The
           28    motion is set for hearing on March 26, 2014.
                                                                                       MOTION FOR ORDER: (1) FIXING BAR
                                                                               DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                                -6-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                      Case 14-20371                                                 Doc 194



            1    Claim Form is designed to and will assist the Debtor, the Committee, and insurance companies

            2    in evaluating Abuse Claims asserted against the Debtor’s estate.

            3           In addition, due to the nature of the information being requested in the Abuse Proof of

            4    Claim Form, the Debtor seeks approval through this Motion of the following confidentiality

            5    protocol:

            6           (1)     Potential Abuse Claimants are directed not to file an Abuse Proof of Claim Form
                                with the Court. Instead, all Abuse Proof of Claim Forms must be sent to the
            7                   Claims Agent in accordance with the procedures set forth in the Abuse Claim Bar
                                Date Notice (defined below).
            8
                        (2)     Abuse Proof of Claim Forms submitted by a potential Abuse Claimant will not be
            9                   available to the general public, unless a potential Abuse Claimant indicates
                                otherwise on Part 1 of the Abuse Proof of Claim Form.
           10
                        (3)     Notwithstanding the above, Abuse Proof of Claim Forms submitted by a potential
           11                   Abuse Claimant shall be held and treated as confidential, except to the Debtor,
                                the Debtor’s counsel, the Committee’s counsel, and upon request, to the United
           12                   States Trustee and to the following parties and to any additional parties the
                                Committee approves but only after each party agrees to keep the information
           13                   provided in the Abuse Proof of Claim Forms confidential: (a) insurance
                                companies that provided insurance that may cover the claims described in the
           14                   Abuse Proof of Claim Forms; (b) any future claims representative appointed
                                under a plan of reorganization or by the Court; (c) the Court appointed mediator
           15                   and any special arbitrator/claims reviewer appointed to review and resolve the
                                claims of Abuse Claimants; (d) any settlement trustee appointed to administer
           16                   payments to Abuse Claimants; (e) members of the Committee and their personal
                                counsel (after the Abuse Proof of Claim Form has been redacted to hide the
           17                   Abuse Claimant’s name, address and any other information identified in Part
                                2(A) of the Abuse Proof of Claim Form); and (f) such other persons as the Court
           18                   determines should have the information in order to evaluate Abuse Claims.
           19           D.      Notice Procedures

           20           In connection with providing notice of the various Bar Dates to all claimants and parties

           21    in interest, the Debtor requests approval of the notice procedures outlined below with respect to

           22    the mailing and/or publication of the Bar Date Notices (defined below).

           23                   1.     Notice of the General and Government Bar Dates

           24           Within three (3) business days of the entry of the order approving the Motion (the

           25    “Bar Date Order”), the Debtor proposes to serve by United States mail, first-class postage

           26    prepaid upon: (a) all known entities holding potential prepetition claims against the Debtor

           27    and their counsel (if known); (b) all parties that have requested special notice in this case; and

           28    (c) the United States Trustee, the following documents: (i) notice of the General Bar Date
                                                                                      MOTION FOR ORDER: (1) FIXING BAR
                                                                              DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                               -7-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                       Case 14-20371                                                  Doc 194



            1    and the Government Bar Date substantially in the form attached as Exhibit C to the Exhibit

            2    Document filed herewith and incorporated herein by reference (the “General Bar Date

            3    Notice”); and (ii) a copy of a General Proof of Claim Form.

            4           The following claims are excepted from the provisions of the Bar Date Order and are not

            5    required to be filed on or before the Bar Dates:

            6           a.      any person or entity that has already properly filed a proof of claim against the

            7    Debtor with the Clerk of the Court for the United States Bankruptcy Court for the Eastern

            8    District of California;

            9           b.      any person or entity:       (i) whose claim is listed in the Schedules or any

           10    amendments thereto, and (ii) whose claim is not described therein as “disputed,” “contingent,”

           11    or “unliquidated,” and (iii) which does not dispute the amount or classification of its claim as set

           12    forth in the Schedules;

           13           c.      professionals retained pursuant to orders of this Court who assert administrative

           14    claims for payment of fees and expenses subject to the Court’s approval pursuant to sections

           15    330, 331(a) and 503(b) of the Bankruptcy Code;

           16           d.      any person or entity that asserts an administrative expense claim against the

           17    Debtor pursuant to sections 503(b)(1) through (8) of the Bankruptcy Code; and

           18           e.      any person or entity whose claim has been paid in full.

           19                   2.         Notice of the Abuse Claim Bar Date

           20           Within three (3) business days of the entry of the Bar Date Order, the Debtor proposes

           21    to serve by United States mail, first-class postage prepaid: (i) notice of the Abuse Claim Bar

           22    Date substantially in the form attached as Exhibit D to the Exhibit Document filed herewith

           23    and incorporated herein by reference (the “Abuse Claim Bar Date Notice”); and (ii) a copy of

           24    the Abuse Proof of Claim Form upon all known Abuse Claimants and their counsel (if

           25    known). In addition, the RCB will mail a copy of the Abuse Claim Bar Date Notice to each

           26    ///

           27    ///

           28    ///
                                                                                        MOTION FOR ORDER: (1) FIXING BAR
                                                                                DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                                -8-             APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                    Case 14-20371                                                     Doc 194



            1    household on the current mailing list of each parish as well as to the alumni list for any parish

            2    schools which permit the RCB to mail that notice to their alumni.

            3                   3.     Publication Notice

            4           The Debtor also will make the Abuse Claim Bar Date Notice and the General Claim

            5    Bar Date Notice available to the public in the following manner, which is similar to the

            6    manner in which notice of the abuse claim bar date has been provided in other diocesan

            7    bankruptcy cases.

            8           First, the Debtor will post a copy of the General Bar Date Notice and General Proof of

            9    Claim as well as a copy of the Abuse Claim Bar Date Notice and the Abuse Proof of Claim

           10    on the websites of the Debtor, the Debtor’s counsel, the KCC website established for this

           11    case, and any website created by the Committee or its counsel for this case. The Debtor also

           12    will attempt to post the Abuse Claim Bar Date Notice on the website of the Survivors

           13    Network of those Abused by Priests and any other websites for victim advocacy groups that

           14    will allow the Debtor to publish the Abuse Claim Bar Date Notice.

           15           Second, the Debtor will cause a copy of the notice attached as Exhibit E to the Exhibit

           16    Document (the “Publication Notice”), no smaller than a 1/8 page advertisement in each

           17    newspaper listed in (a) through (d) below, to be published as follows:

           18           (a)     Once in English in the national edition of USA Today, on the first available

           19    date reasonably practical after entry of the Bar Date Order;

           20           (b)     Twice each, in English, in the following daily newspapers: Fresno Bee; Lodi

           21    News-Sentinel; Los Angeles Times; Manteca Bulletin; Modesto Bee; Sacramento Bee; San

           22    Francisco Chronicle; San Jose Mercury News; Sonora Union Democrat; Stockton Record;

           23    and Tracy Press, first on the first available date reasonably practical after entry of the Bar

           24    Date Order and second, one month prior to the expiration of the Abuse Claim Bar Date;

           25           (c)     Twice each, in English, in the following bi-weekly or weekly newspapers:

           26    Calaveras Enterprise; Ceres Courier; Linden Herald; Mammoth Times; Oakdale Leader;

           27    Patterson Irrigator; Ripon Record; Riverbank News; Turlock Journal; Valley Springs News;

           28    and West Side Index, first on the first available date reasonably practical after entry of the Bar
                                                                                        MOTION FOR ORDER: (1) FIXING BAR
                                                                                DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                               -9-              APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                    Case 14-20371                                                   Doc 194



            1    Date Order and second, one month prior to the expiration of the Abuse Claim Bar Date; and

            2           (d)     Twice each, in Spanish, in the Bilingual Weekly and Vida en el Valle, first on

            3    the first available date reasonably practical after entry of the Bar Date Order and second, one

            4    month prior to the expiration of the Abuse Claim Bar Date.

            5    The publications listed in (b) – (d), above, have been chosen because they represent the

            6    newspapers which are published within the Diocese as well as in surrounding dioceses in

            7    which unknown Abuse Claimants may reside. Davis Decl. ¶ 5-8.

            8           Third, the Debtor will cause an announcement to be placed bi-weekly from the first

            9    available date after entry of the Bar Date Order until the Abuse Claim Bar Date in the

           10    bulletins produced by the parishes and missions located within the geographic territory of the

           11    Diocese, in the language in which the Mass is conducted (English, Spanish, Portuguese,

           12    Vietnamese or Laotian).

           13           Fourth, the Debtor will request each Parish and mission to post a flyer announcing the

           14    Abuse Claim Bar Date in a prominent location for at least six weeks prior to the Abuse Claim

           15    Bar Date.

           16           Finally, the RCB will issue a nationwide press release through Business Wire, or some

           17    other service, as soon as possible after the entry of the Bar Date Order.

           18                                         LEGAL ARGUMENT

           19           A.      The Proposed Bar Dates for Filing Proofs of Claim Are Appropriate.

           20           In a Chapter 11 case, any creditor who asserts a claim against the debtor that arose prior to

           21    the petition date, and whose claim is not scheduled in the debtor’s schedules of assets and

           22    liabilities or whose claim is listed on such schedules as disputed, contingent, or unliquidated,

           23    must file a proof of claim, failing which such creditor shall not be treated as a creditor with

           24    respect to such claim for the purposes of voting and distribution. See 11 U.S.C. §§ 1111(a) and

           25    501(a); Fed. R. Bankr. P. 3003(c).

           26           Bankruptcy Rule 3003(c)(3) provides that the Court shall fix the time within which proofs

           27    of claim must be filed in a chapter 11 case pursuant to section 501 of the Bankruptcy Code.

           28    Fed. R. Bankr. P. 3003(c)(3). The court has discretion to “fix any period of time which provides
                                                                                      MOTION FOR ORDER: (1) FIXING BAR
                                                                              DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                              -10-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                   Doc 194



            1    creditors or equity security holders a reasonable time for filing [a proof of claim or interest].” In

            2    re Thompson McKinnon Sec., Inc., 125 B.R. 88, 92 (Bankr. S.D.N.Y. 1991). Under Bankruptcy

            3    Rule 3002(c)(1), a “governmental unit” has up to 180 days after the Petition Date to timely file a

            4    proof of claim.

            5             The Debtor submits that the proposed Bar Dates will provide potential claimants with an

            6    adequate amount of time after the mailing of the Bar Dates (as set forth above) and publication of

            7    the Publication Notice within which to review the Schedules, compare the information contained

            8    therein with their own books and records and, if necessary, prepare and file proofs of claim. This

            9    includes governmental units that will receive the mandatory 180 days after the Petition Date

           10    required by Bankruptcy Rule 3002(c)(1) to file a proof of claim.

           11             The establishment of the proposed Bar Dates is essential for this bankruptcy case to

           12    progress. Absent a bar date, a Chapter 11 case could not be administered to a conclusion because

           13    there would not be a deadline limiting the filing of claims and for voting on a plan of

           14    reorganization. See In re Waterman, 59 B.R. 724, 726 (Bankr. S.D.N.Y. 1986); In re Pettibone

           15    Corp., 123 B.R. 304, 308 (Bankr. N.D. Ill. 1990) (“A bar date in a reorganization case provides a

           16    mechanism by which a trustee in bankruptcy can estimate the potential liabilities of the debtor.”)

           17    (citing In re Chicago, Rock Island & Pacific Railroad Co., 788 F.2d 1280, 1281 (7th Cir. 1986).

           18    Here, the Debtor cannot effectively negotiate and prepare a plan of reorganization until the extent

           19    of the claims against it has been fixed.

           20             B.       The Abuse Proof of Claim Form and Confidentiality Protocol Should Be
                                   Approved.
           21

           22             It is well established that the Court has the authority to authorize the modification of

           23    Official Bankruptcy Form B10. See In re A.H. Robins Co., 862 F.2d 1092 (4th Cir. 1988); In re

           24    Eagle-Picher Indus., Inc., 158 B.R. 713, 716 (Bankr. S.D. Ohio 1993). While Bankruptcy Rule

           25    3001(a) provides that “[a] proof of claim shall conform substantially to the appropriate Official

           26    Form,” Bankruptcy Rule 9009 authorizes appropriate and necessary alterations to the Official

           27    Forms:

           28             [T]he Official Forms prescribed by the Judicial Conference of the United States
                                                                                       MOTION FOR ORDER: (1) FIXING BAR
                                                                               DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                               -11-            APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                   Doc 194



            1           shall be observed and used with alterations as may be appropriate. Forms may be
                        combined and their contents rearranged to permit economies in their use. The
            2           Director of the Administrative Office of the United States Courts may issue
                        additional forms under the Code. The forms shall be construed to be consistent
            3           with these rules and the Code.

            4    Fed. R. Bankr. P. 9009 (emphasis supplied); see also In re I.G. Servs., Ltd., 244 B.R. 377, 384
            5    (Bankr. W.D. Tex. 2000) (citing A.H. Robins Co. and noting that proof of claim forms which
            6    deviate from the Official Proof of Claim Form 10 may be used when special circumstances exist).
            7    Further, in A.H. Robins, the court recognized that substantial alteration to Official Proof of Claim
            8    Form 10 may be necessary when dealing with abuse claims. See A.H. Robins, 862 F.2d at 1095-
            9    96.
           10           Additionally, similar forms have been approved in other diocesan cases in connection with
           11    the assertion of claims arising out of sexual abuse. See, e.g., In re Archdiocese of Milwaukee,
           12    Case No. 11-20059 (Bankr. E. D. Wis. Jul. 14, 2011) (Dkt. No. 331); In re Catholic Diocese of
           13    Wilmington, Inc., Case No. 09-13560 (Bankr. D. Del. Feb. 1, 2010) (Dkt. No. 308); In re Roman
           14    Catholic Church of The Diocese of Tucson, Case No. 04-04721 (Bankr. D. Ariz. Nov. 5, 2004)
           15    (Dkt. No. 118); In re Catholic Bishop of N. Alaska, Case No. 08-00110 (Bankr D. Alaska
           16    May 30, 2008) (Dkt. No. 180); In re The Diocese of Davenport, Case No. 06-02229 (Bankr. S.D.
           17    Iowa Mar. 16, 2007) (Dkt. No. 97); In re The Roman Catholic Bishop of San Diego, Case No. 07-
           18    00939 (Bankr. S.D. Cal. Aug. 20, 2007) (Dkt. No. 1061).
           19           Here, the special proposed Abuse Proof of Claim Form is necessary and appropriate in
           20    this case. In order to facilitate negotiations toward a consensual plan, it is important that the
           21    Debtor and others who are given access to the submitted Abuse Claims know the basic
           22    information related to the Abuse Claims as early as possible. The proposed Abuse Proof of Claim
           23    Form is designed to ensure Abuse Claimants provide necessary information relating to their
           24    Abuse Claim in such a way as to allow the Debtor to determine the nature, extent and validity of
           25    the Abuse Claims being asserted against it while being sensitive to the special issues for the
           26    holders of Abuse Claims related to the information sought. Finally, the Debtor has circulated this
           27    Motion and the proposed forms to counsel for the Committee and the U.S. Trustee and
           28    incorporated all comments from them.
                                                                                       MOTION FOR ORDER: (1) FIXING BAR
                                                                               DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                              -12-             APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                   Doc 194



            1           C.        The Proposed Notice of the Bar Dates Should Be Approved.

            2           “An elementary and fundamental requirement of due process in any proceeding which is

            3    to be accorded finality is notice reasonably calculated, under all the circumstances, to apprise

            4    interested parties of the pendency of the action and afford them an opportunity to present their

            5    objections.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).

            6           [A]n unknown creditor – that is, a creditor whose “interests are either conjectural
                        or future or, although they could be discovered upon investigation, do not in due
            7           course of business come to knowledge [of the debtor],” Mullane, 339 U.S. at 317 –
                        has no such entitlement to actual notice, although such creditors remain entitled to
            8           notice reasonably calculated under the circumstances to reach them, see id. at 314-
                        318; see also In re State Line Hotel, Inc., 323 B.R. 703, 713 (B.A.P. 9th Cir.
            9           2005).

           10    Wand v. Roman Catholic Archbishop of Portland in Oregon, 2010 U.S. Dist. LEXIS 141181, *13

           11    (D. Or. Dec. 1, 2010) (analyzing publication notice to an abuse claimant who knew of his claims

           12    prior to the claims bar date).

           13           Bankruptcy Rule 2002(l) provides that “[t]he court may order notice by publication if it

           14    finds that notice by mail is impracticable or that it is desirable to supplement the notice.”

           15    Bankruptcy Rule 9008 provides that “[w]henever these rules require or authorize service or notice

           16    by publication, the court shall, to the extent not otherwise specified in these rules, determine the

           17    form and manner thereof, including the newspaper or other medium to be used and the number of

           18    publications.”

           19           As stated, the purpose of this bankruptcy case is to, among other things, provide for a

           20    framework by which victims of abuse are fairly, justly and equitably compensated. In order to

           21    accomplish that, and given the nature of the injury which in many instances is not disclosed by

           22    the victim, the Debtor proposes to give the broadest possible notice of the bar date. Pursuant to

           23    Bankruptcy Rule 2007(a)(7), the Debtor proposes forms of Bar Date Notices for all creditors. See

           24    General Bar Date Notice and Abuse Claim Bar Date Notice attached as Exhibits C and D,

           25    respectively, to the Exhibit Document filed herewith. The Debtor will send the Bar Date Notices

           26    and appropriate proof of claim form to all creditors and others entitled to receive notice pursuant

           27    to Bankruptcy Rule 2002(a)(7).

           28           In addition, because of the nature of the Abuse Claims, the Debtor requests that the Court
                                                                                       MOTION FOR ORDER: (1) FIXING BAR
                                                                               DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                              -13-             APPROVING MANNER AND FORM OF NOTICE
Filed 03/26/14                                     Case 14-20371                                                  Doc 194



            1    approve the Publication Notice and the manner for publication of that notice as set forth in this

            2    Motion. The Debtor believes that the notice procedures which the Debtor requests the Court to

            3    approve are fair and reasonable and will provide good, sufficient and due notice to known and

            4    unknown claimants of their rights and obligations in connection with claims they may assert

            5    against the Debtor’s estate in this bankruptcy case. In addition, the interests of future claimants

            6    will be protected by the Future Claims Representative that the Debtor will request the Court

            7    appoint pursuant to separate motion. Finally, the Debtor has circulated this Motion and the

            8    proposed forms to counsel for the Committee and the UST and incorporated all comments from

            9    them.

           10                                             CONCLUSION

           11            WHEREFORE, the Debtor respectfully requests that the Court enter an Order:

           12            1.       Establishing a General Bar Date of May 22, 2014; an Abuse Claim Bar Date of

           13    August 15, 2014; and a Government Bar Date of July 14, 2014;

           14            2.       Approving the proposed Abuse Proof of Claim Form and the General Proof of

           15    Claim Form;

           16            3.       Approving the proposed procedures for maintaining the confidentiality of proofs

           17    of claim filed in connection with Abuse Claims as set forth in the Motion;

           18            4.       Approving the form of the General Bar Date Notice; Abuse Claims Bar Date

           19    Notice and Publication Notice;

           20            5.       Approving the proposed procedure for giving notice of the Bar Dates as proposed

           21    by the RCB in the Motion; and

           22            6.       Granting such other relief as the Court deems just and proper under the

           23    circumstances.

           24    Dated: March 26, 2014

           25                                                 FELDERSTEIN FITZGERALD
                                                              WILLOUGHBY & PASCUZZI LLP
           26

           27                                             By_/s/ Paul J. Pascuzzi______________________
                                                             PAUL J. PASCUZZI
           28                                                Attorneys for Debtor and Debtor-In-Possession
                                                                                      MOTION FOR ORDER: (1) FIXING BAR
                                                                              DATE; (2) APPROVING CLAIM FORMS; AND (3)
                                                              -14-            APPROVING MANNER AND FORM OF NOTICE
